                         UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA
               Plaintiff,

       v.                                               Case No. 08-CR-172

RONALD EVANS
                     Defendant.


                               SENTENCING MEMORANDUM

       The government indicted defendant Ronald Evans on a charge of distributing 50 grams

or more of crack cocaine, contrary to 21 U.S.C. §§ 841(a)(1) & (b)(1)(A). Pursuant to a plea

agreement with the government, defendant pleaded guilty to an information charging him with

using a telephone to facilitate a felony drug offense, contrary to 21 U.S.C. § 843(b), and I set

the case for sentencing.

       In imposing sentence, the district court must first calculate the advisory sentencing

guideline range, then determine the ultimate sentence under all of the factors set forth in 18

U.S.C. § 3553(a). E.g., United States v. Bush, 523 F.3d 727, 729 (7th Cir. 2008). This

memorandum sets forth written reasons for my determinations.

                                       I. GUIDELINES

       Defendant’s pre-sentence report (“PSR”) set a base offense level of 30 based on a drug

weight of 73 grams of crack cocaine. U.S.S.G. § 2D1.1(c)(5). Although defendant entered a

timely guilty plea to the charge, the PSR denied a reduction for acceptance of responsibility

under U.S.S.G. § 3E1.1 based on defendant’s repeated violation of pre-trial release conditions.

The PSR then set a criminal history category of II, producing an imprisonment range of 108-



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135 months. However, because the statutory maximum under 21 U.S.C. § 843(b) is 4 years,

the guideline range became 48 months under U.S.S.G. § 5G1.1(a).

       Defendant made two objections to the PSR. First, he objected to the base offense level

in the report, asking me to use a 1:1 crack to powder cocaine ratio. Under Kimbrough v. United

States, 552 U.S. 85 (2007) and its progeny the court may use a 1:1 ratio in imposing sentence

under § 3553(a), but the first step in sentencing is to correctly calculate the guidelines, which

have not been amended to 1:1. Defendant did not contest the drug weight figure set forth in

the PSR, and the report correctly calculated the base level under U.S.S.G. § 2D1.1(c)(5) using

that weight.

       The second objection was to the PSR’s denial of the acceptance of responsibility

reduction. Under U.S.S.G. § 3E1.1(a), if the defendant clearly demonstrates acceptance of

responsibility for his offense, the court will decrease the offense level by 2.1 Entry of a plea of

guilty prior to the commencement of trial combined with truthfully admitting the conduct

comprising the offense of conviction, and truthfully admitting or not falsely denying any

additional relevant conduct for which he is accountable, constitutes significant evidence of

acceptance of responsibility. However, this evidence may be outweighed by conduct of the

defendant that is inconsistent with such acceptance of responsibility. A defendant who enters

a guilty plea is not entitled to a reduction as a matter of right. U.S.S.G. § 3E1.1 cmt. n.3.

Application note 1 to the guideline lists a variety of factors for the court to consider, including

voluntary termination or withdrawal from criminal conduct or associations. U.S.S.G. § 3E1.1



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       If the defendant qualifies for this decrease, the court may grant a third level reduction
on the government’s motion if the defendant timely notified authorities of his intent to plead.
U.S.S.G. § 3E1.1(b).

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cmt. n.1(b). The defendant bears the burden of showing that he is entitled to a reduction. See,

e.g., United States v. Silvious, 512 F.3d 364, 370 (7th Cir. 2008).

       In the present case, as the PSR detailed and defendant essentially conceded, defendant

violated his conditions of pre-trial release, which included a home detention condition, in

serious ways: he falsified his daily activity logs, submitted fictitious hospital excuses when out

of range, and provided fraudulent employment verification to pre-trial services by having an

imposter pose as his employer. He used the phony hospital excuses to cover his being out of

range for substantial periods of time, and the imposter employer to cover the fact that he had

been unemployed for about a month. It was not clear what he was doing during his time out

of range, but it was clear that he had not demonstrated acceptance. Courts have held that

significant violations of pre-trial release conditions may warrant denial of the reduction under

§ 3E1.1, see, e.g., United States v. McDonald, 22 F.3d 139, 142-44 (7th Cir. 1994); United

States v. Hooten, 942 F.2d 878, 883 (5th Cir. 1991), and I so found here.2

       Defendant noted that the violations were unrelated to his offense of conviction, but the

district court may consider any behavior of the defendant relevant to his acceptance of

responsibility, including termination of both criminal conduct and non-criminal behavior

inconsistent with acceptance, see United States v. Kirkland, 28 F.3d 49, 51 (7th Cir. 1994);

such behavior need not be “related to the offense of conviction to support the denial of

acceptance points.” United States v. Sellers, 595 F.3d 791, 794 (7th Cir. 2010); see also

McDonald, 22 F.3d at 141 (“As several courts have noted, the broad language of Note 1(b)


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       As the government noted at sentencing, when confronted by the probation officer
defendant refused to admit his lies and stated that he would sit in jail until his sentencing a few
weeks later because he expected to receive probation. The government further noted that
defendant’s conduct may have violated 18 U.S.C. § 1001.

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indicates that the criminal conduct or associations referred to relate not only to the charged

offense, but also to criminal conduct or associations generally.”). Defendant stressed that he

had entered a timely guilty plea and admitted his conduct, but as noted above, there is no

entitlement to a reduction based simply on a plea. Defendant’s post-plea conduct outweighed

the earlier suggestion that he had accepted responsibility.

      Finally, I noted that even if I granted the reduction, defendant’s guideline range

remained well above the statutory maximum, so this dispute did not alter the final range under

§ 5G1.1. Further, I could (and did) consider defendant’s conduct under § 3553(a).

      For these reasons and those stated on the record, I adopted the PSR’s factual

statements and guideline calculations. I turned then to imposition of sentence under § 3553(a).

                                       II. SENTENCE

A.    Section 3553(a) Factors

      Section 3553(a) directs the district court to consider the following factors in imposing

sentence:

      (1)    the nature and circumstances of the offense and the history and characteristics
             of the defendant;

      (2)    the need for the sentence imposed–

             (A) to reflect the seriousness of the offense, to promote respect for the law,
             and to provide just punishment for the offense;

             (B) to afford adequate deterrence to criminal conduct;

             (C) to protect the public from further crimes of the defendant; and

             (D) to provide the defendant with needed educational or vocational training,
             medical care, or other correctional treatment in the most effective manner;

      (3)    the kinds of sentences available;


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       (4)    the advisory guideline range;

       (5)    any pertinent policy statements issued by the Sentencing Commission;

       (6)    the need to avoid unwarranted sentence disparities; and

       (7)    the need to provide restitution to any victims of the offense.

18 U.S.C. § 3553(a).

       The court must, after considering these factors, impose a sentence that is “sufficient but

not greater than necessary” to satisfy the purposes of sentencing – just punishment,

deterrence, protection of the public and rehabilitation of the defendant. Id. While the district

court must give respectful consideration to the guidelines in determining a sufficient sentence,

Gall v. United States, 128 S. Ct. 586, 594 (2007), it must consider the parties’ arguments and

determine an appropriate sentence without any thumb on the scale favoring a guideline

sentence, United States v. Sachsenmaier, 491 F.3d 680, 685 (7th Cir. 2007).

B.     Analysis

       1.     The Offense

       This case arose out of the government’s investigation of a large-scale cocaine trafficking

organization on the north-side of Milwaukee, headed by a man named Shawn Terry. The

investigation revealed that defendant supplied cocaine to Philander Barfield, as associate of

Terry’s. The specific count of conviction arose out of a December 19, 2007 transaction, in

which an informant bought 73 grams of crack from Barfield. Prior to the transaction, Barfield

called defendant and arranged the delivery of the 73 grams, which was sold to the informant

for $2250.




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       2.     The Defendant

       Defendant was thirty-one years old, with a fairly serious prior record, one which

demonstrated that he could not stay out of trouble, even while under criminal justice

supervision. He sustained a juvenile adjudication for unlawful firearm possession in 1995. He

was then arrested (as an adult) for possession with intent to deliver cocaine in 2006, for which

he received a 1 year jail sentence in 2008. He was then charged with receiving an illegal article

as an inmate in 2008, while serving the jail sentence on the cocaine case. He committed the

instant offense in December 2007, while the previous cocaine case was pending.

       The record contained some positives. Defendant married in 2006, and he and his wife

had a son, age nine. His wife remained supportive and indicated that defendant treated her

child from a previous relationship as his own. Defendant’s grandmother, who raised him,

indicated that he helped her. Defendant admitted past use of marijuana, but all screens on

pre-trial release were negative. He made some efforts at furthering his education after

dropping out of school, as set forth in ¶¶ 153-54 of the PSR, and had some work record, as set

forth in ¶¶ 155-57 of the PSR.

       But these positives were largely outweighed by defendant’s violations of his pre-trial

release conditions. As discussed above, and as set forth in ¶¶ 8 and 120 of the PSR,

defendant falsified his daily activity logs, submitted fictitious hospital excuses when out of

range, and provided fraudulent employment verification to pre-trial services by having an

imposter pose as his employer. Pre-trial services was unable to determine what he was doing

when out of range. I found it remarkable that defendant would engage in this conduct given

the favorable plea agreement the government offered him. This conduct demonstrated serious

disrespect for the law.

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       3.     The Guidelines and Purposes of Sentencing

       The guidelines called for 48 months’ imprisonment, which corresponded to the statutory

maximum, and the government recommended such a sentence. While I agreed that prison

was necessary to satisfy the purposes of sentencing, I found a somewhat lesser sentence

sufficient. However, I found defendant’s suggestion of probation insufficient.

       In considering the type of sentence needed to provide just punishment, I acknowledged

that this was a crack case. Based on defendant’s prior conviction and his violation of pre-trial

release, the government did not support use of a 1:1 crack to powder ratio in this case, as

previously suggested in the plea agreement. But Kimbrough is not necessarily limited to first

offenders. Further, both defendant’s prior case and this case involved fairly modest amounts,

around two ounces each time. The record contained no indication that defendant was a large-

scale dealer. Nor did the record contain evidence of the other harmful effects thought to be

associated with crack dealing, which originally prompted the harsher penalties – no weapons,

violence, other harmful secondary effects. Thus, while I am not required to treat crack and

powder equally based on the flaws in the guidelines, see United States v. Corner, 598 F.3d

411, 416 (7th Cir. 2010), in the present case I took this factor into account. If the case had

involved powder cocaine, the range would have been 24-30 months.

       Promotion of respect for the law and deterrence were important factors here. This was

defendant’s second drug offense; he committed this crime while awaiting trial in the first case;

and, as discussed, he committed egregious violations of his bond conditions while awaiting

sentencing in this case, despite the very favorable plea agreement he had with the government.

I found that supervision in the community would not suffice to deter him or to protect the public

from further drug trafficking offenses. Even while he was in jail on the previous cocaine case,

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he continued to violate the law by possessing contraband.

      Under all the circumstances, I found a sentence of 24 months sufficient but not greater

than necessary. This sentence acknowledged the crack-powder cocaine disparity in the

guidelines and the fact that defendant had entered a guilty plea, saving the court and the

government the time and expense of a trial, while also accounting for the aggravating factors

discussed above. The sentence was based on § 3553(a) and would have been the same

regardless of my findings on the disputed guideline issues.

                                     III. CONCLUSION

      Therefore, I committed defendant to the custody of the Bureau of Prisons for 24 months.

On release, I ordered him to serve a 1 year term of supervised release, the conditions of which

appear in the judgment.

      Dated at Milwaukee, Wisconsin, this 4th day of June, 2010.

                                         /s Lynn Adelman
                                         ________________________________________
                                         LYNN ADELMAN
                                         District Judge




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